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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

 

MARK RYAN ALLEN, SCOTT BIMBA,
DAVID BLACKWELL, MATTHEW
BOYCE, SCOTT CARLISLE, RAYMOND S.
FRY Ill, DANIEL KLEIN, TIM LANE,
RYAN McGOUGH, NICHOLAS ROSS,
REGINALD SIMPSON, SPIROS MYLES
THEODORE, JEFF WHITE, JACKSON
HOU, ERIC RINKER, HARMANDEEP
SINGH, STEVEN W. WRIGHT JR., MICHAEL
BEST, BRETT SAMPSON, BRYAN
MURPHY, GEORGE BARKSDALE,
JOSHUA BAFALIS, and KEVIN FRYE,

Plaintiffs,

V.

COGENT COMMUNICATIONS, INC.,
Defendant.

Civil Action No. 1:14-cv-00459-JCC-TRJ

 

 

AGREED MOTION TO APPROVE SETTLEMENTS AND JOINT
STIPULATION FOR DISMISSAL OF PLAINTIFFS ALLEN, BAFALIS,
BARKSDALE, BIMBA, BLACKWELL, BOYCE, CARLISLE, FRYE,
KLEIN, MCGOUGH, MURPHY, RINKER, SAMPSON, SIMPSON,
SINGH, THEODORE, WHITE, AND WRIGHT WITH PREJUDICE

Plaintiffs Mark Ryan Allen (“Allen”), Joshua Bafalis (“Bafalis”), George Barksdale

(“Barksdale”), Scott Bimba (“Bimba”), David Blackwell (“Blackwell”), Matthew Boyce

(“Boyce”), Scott Carlisle (“Carlisle”), Kevin Frye (“Frye”), Daniel Klein (“Klein”), Ryan

McGough (“McGough”), Bryan Murphy (“Murphy”), Eric Rinker (“Rinker”), Brett Sampson

(“Sampson”), Reginald Simpson (“Simpson”), Harmandeep Singh (“Singh”), Spiros Myles

Theodore (“Theodore”), Jeff White (“White”), and Steven W. Wright, Jr. (“Wright”)

(collectively, “Plaintiffs”) and Defendant Cogent Communications, Inc. (“Defendant”)

(collectively, the “Parties”) hereby file this Agreed Motion to Approve Settlements and Joint

Stipulation for Dismissal of Plaintiffs Allen, Bafalis, Barksdale, Bimba, Blackwell, Boyce,
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Carlisle, Frye, Klein, McGough, Murphy, Rinker, Sampson, Simpson, Singh, Theodore, White,
and Wright With Prejudice (“Motion and Stipulation for Dismissal”). The Parties state the
following in support of this Motion and Stipulation for Dismissal:

I. STATEMENT OF FACTS

1. On April 25, 2014, Plaintiffs (along with five other named plaintiffs) filed the
instant action against Defendant alleging a failure to pay overtime compensation in violation of
the Fair Labor Standards Act (“FLSA”). See Dkt. #1. Plaintiffs claim that Defendant
improperly classified them as exempt employees under the FLSA. Jd. Defendant has at all times
denied that it violated the FLSA and, thus, Plaintiffs’ claims in this lawsuit. See Dkt. # 32.

2. On June 5, 2014, Plaintiffs filed their First Amended Collective Action
Complaint, adding collective action allegations on behalf of Regional Account Managers and
Global Account Managers who worked at Defendant’s Northern Virginia office locations.’ See
Dkt. #10. On July 18, 2014, Plaintiffs filed a Motion for Conditional Certification and for
Notice to Potential Plaintiffs, requesting that this Court conditionally certify Plaintiffs’ proposed
FLSA collective action and authorize notice to be sent to the putative collective action members.
See Dkt. # 33. On August 28, 2014, this Court granted Plaintiffs’ motion and conditionally
certified Plaintiffs’ proposed FLSA collective action. See Dkt. # 45, Dkt. # 46.

3, Based on this Court’s previous September 12, 2014 discovery deadline, Defendant
requested the depositions of Plaintiffs (and the remaining five named plaintiffs) and noticed such
depositions based on the dates provided by Plaintiffs’ counsel. However, recognizing the time

and expense involved in such discovery, Defendant also made a settlement offer to each Plaintiff

 

' On July 7, 2014, Plaintiffs filed their Second Amended Collective Action Complaint, adding
Plaintiff Kevin Frye as an additional named plaintiff. See Dkt. #30. The Second Amended
Collective Action Complaint is Plaintiffs’ live complaint in this action.
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in advance of his scheduled deposition. Some of the Plaintiffs accepted Defendant’s pre-
deposition settlement. For those Plaintiffs who rejected Defendant’s pre-deposition settlement
offer, Defendant took their depositions, except for Plaintiffs Rinker and Theodore. After the
depositions, the Parties continued to engage in settlement discussions and reached a settlement
agreed to by each Plaintiff, Defendant, and their counsel.

4, The Parties now submit to this Court that they have reached mutually acceptable
resolutions of their dispute and have executed settlement agreements memorializing such
resolutions. The settlement agreements were reached by each Plaintiff and his counsel and
Defendant and Defendant’s counsel.

5. In accordance with the applicable requirements for settling an FLSA claim, the
Parties hereby seek this Court’s approval of the settlement agreements that they have entered into
to resolve their disputes. The Parties further stipulate to the dismissal of Plaintiffs Allen, Bafalis,
Barksdale, Bimba, Blackwell, Boyce, Carlisle, Frye, Klein, McGough, Murphy, Rinker,
Sampson, Simpson, Singh, Theodore, White, and Wright with prejudice, after the Court has
reviewed and approved each of the settlement agreements executed by the Parties.

Il. ARGUMENT

Based on case precedent, claims for unpaid wages and other damages arising under the
FLSA may only be settled or compromised with the approval of a court or the Secretary of Labor.
See Brooklyn Savings Bank v. O’Neil, 324 U.S. 697 (1945); D.A. Schulte, Inc. v. Gangi, 328 U.S.
108 (1946); see also Baker v. Dolgencorp, Inc., 818 F. Supp. 2d 940, 941 (E.D. Va. 2011) (citing
Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982) (claims for back wages
arising under the FLSA may be settled or compromised only with the approval of the court or the
Secretary of Labor)). Because Plaintiffs elected to litigate their FLSA claims against Defendant

in the United States District Court for the Eastern District of Virginia, the Parties request that this
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Court approve their settlement as set forth in the settlement agreements as a fair and reasonable
resolution of a bona fide dispute and that the Court dismiss all of the claims asserted by Plaintiffs
Allen, Bafalis, Barksdale, Bimba, Blackwell, Boyce, Carlisle, Frye, Klein, McGough, Murphy,
Rinker, Sampson, Simpson, Singh, Theodore, White, and Wright against Defendant with
prejudice.

As discussed above, the Parties dispute the existence and scope of potential liability in the
instant action. Nonetheless, Plaintiffs Allen, Bafalis, Barksdale, Bimba, Blackwell, Boyce,
Carlisle, Frye, Klein, McGough, Murphy, Rinker, Sampson, Simpson, Singh, Theodore, White,
and Wright agreed to settle all of their disputed claims and have each executed a Confidential
Settlement Agreement and General Release (“Settlement Agreement”). The Parties agree that
the settlement terms they reached represent a fair and equitable resolution of their dispute. Each
Plaintiff is receiving a reasonable and satisfactory recovery of an agreed upon sum, which
includes payment of an agreed upon amount of attorneys’ fees and costs. The terms of the
Settlement Agreement are contingent upon approval by this Court. Thus, the Parties respectfully
request that this Court approve their settlement and issue an Order dismissing the claims of
Plaintiffs Allen, Bafalis, Barksdale, Bimba, Blackwell, Boyce, Carlisle, Frye, Klein, McGough,
Murphy, Rinker, Sampson, Simpson, Singh, Theodore, White, and Wright with prejudice.

The Parties have agreed to keep the specific terms and conditions of the Settlement
Agreement confidential. Confidentiality of the settlement terms is particularly important to

Defendant given that it is currently defending similar FLSA claims brought by multiple plaintiffs

 

2 The Settlement Agreement executed by each Plaintiff is the same except for the agreed upon
settlement amount.
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in various jurisdictions across the country? To that end, the Parties will submit each Settlement
Agreement to this Court, in its written form, for an in camera review, in order to protect the
confidential nature of the agreement. By allowing an in camera review, the Court can consider
the agreement and still protect the confidentiality that the Parties bargained for. In the
alternative, and upon the Court’s request, the Parties will file each Settlement Agreement under
seal if this Court prefers as opposed to an in camera review.
Il. CONCLUSION

WHEREFORE, the Parties respectfully request that this Court review the Settlement
Agreements in a manner that protects their confidential nature, and then enter an Order approving
the terms of each settlement between Plaintiffs and Defendant and dismissing the claims of
Plaintiffs Allen, Bafalis, Barksdale, Bimba, Blackwell, Boyce, Carlisle, Frye, Klein, McGough,

Murphy, Rinker, Sampson, Simpson, Singh, Theodore, White, and Wright with prejudice.

 

3 These lawsuits are as follows: Lagos, et al. v. Cogent Communications, Inc., No. 4:11-cv-04523
(S.D. Tex.) (filed Dec. 21, 2011); Jones, et al. v. Cogent Communications, Inc., No. 1:14-cv-
00675-ESH (D.D.C.) (filed Apr. 22, 2014); Doeum, et al. v. Cogent Communications, Inc., No.
01-14-0000-3136 (AAA) (filed April 30, 2014); Ambrosia, et al. v. Cogent Communications,
Inc., No. 3:14-cv-02182-EDLRS (N.D. Cal.) (filed May 12, 2014); Branch, et al. v. Cogent
Communications, Inc., No. 14-CV-3551 (S.D.N.Y) (filed May 16, 2014); and Pierre, et al. v.
Cogent Communications, Inc., No. 4:14-cv-01835 (S.D. Tex.) (filed July 1, 2014).
  

Respectfully submitted, 7 ML.
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CERTIFICATE OF SERVICE

I hereby certify that on the 3rd of October, I will electronically file the foregoing with the
Clerk of Court using the CM/ECF system, which will then send a notification of such filing
(NEF) to the following:

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And, I hereby certify that I will mail the document by certified mail, return receipt
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